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Attorneys for Third-Party Defendant Nozomi
Technology, Inc.
                                 UNITED STATES DISTRICT COURT

                            DISTRICT OF UTAH, CENTRAL DIVISION
                                                 :
SU-RAJ DIAMONDS & JEWELRY USA,
                                                 :    JOINT AND STIPULATED MOTION
INC., a New York corporation,
                                                 :    TO DISMISS THIRD-PARTY
                    Plaintiff,                   :    COMPLAINT AGAINST NOZOMI
vs.                                              :    TECHNOLOGY, INC. WITH
                                                 :    PREJUDICE
                                                 :
NOVATEK, INC., a Utah corporation,               :    Case No.: 2:13-CV-01047-CW
                                                 :
                    Defendant and                     The Honorable Clark Waddoups
                                                 :
                    Third-Party Plaintiff,       :
vs.                                              :
                                                 :
WINSOME DIAMONDS AND
                                                 :
JEWELLERY LTD., an Indian public
                                                 :
limited company, ASHOK BHANSALI,
                                                 :
NOZOMI TECHNOLOGY, INC., a New
                                                 :
York corporation, and JOHN DOES 1
                                                 :
THROUGH 25,
                                                 :
                    Third-Party Defendants.      :
                                                 :


            Third-Party Defendant Nozomi Technology, Inc. (“Nozomi”) and Third-Party Plaintiff

Novatek, Inc. (“Novatek”) by and through their undersigned counsel of record, hereby inform the

court that they have resolved the pending dispute between them through settlement and, now,



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stipulate and jointly move the court to dismiss the Third Party Complaint [Docket No. 10] (the

“Third Party Complaint”) filed by Novatek with prejudice as to Nozomi, with each party to bear

their own costs and attorney fees. This matter having been resolved as between Novatek and

Nozomi, no further action on the Third Party Complaint is necessary as between those parties. A

proposed Order granting this Motion is attached as Exhibit A and separately submitted to the

Court.


       DATED this 16th day of December, 2014.

                                                JONES WALDO HOLBROOK & McDONOUGH PC


                                                /s/ Nathan D. Thomas
                                                Nathan D. Thomas
                                                Elizabeth M. Butler
                                                Attorneys for Third-Party Defendant Nozomi




     DATED this 16th day of December, 2014.
                                                NOVATEK, INC.


                                                /s/ Philip W. Townsend, III
                                                Philip W. Townsend, III
                                                (signed w/permission)
                                                Attorneys for Third-Party Plaintiff Novatek, Inc.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 16, 2014, I electronically filed the forgoing with the

Clerk of Court using the CM/ECF system, which sent notification of such filing to the following:

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       Attorney for Defendant Novatek




                                                    /s/ Nathan D. Thomas




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